      Case 2:16-cr-00092-DAD Document 115 Filed 12/04/17 Page 1 of 3


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    TIMOTHY ZINDEL, #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
     timothy_zindel@fd.org
5
6    Attorney for Defendant
     JUAN CARLOS MONTALBO
7
8
9                     IN THE UNITED STATES DISTRICT COURT

10                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,        ) Case No. 2:16-CR-0092 JAM
                                      )
13          Plaintiff,                )
                                      ) STIPULATION AND ORDER
14                  v.                ) CONTINUING STATUS CONFERENCE
                                      ) AND EXCLUDING TIME
15   MARCO ANTONIO RAMIREZ ZUNO       )
     et al.,                          )
16                                    ) Date:   December 5, 2017
            Defendants.               ) Time:   9:15 a.m.
17                                    ) Judge: Hon. John A. Mendez

18
19
20          It is hereby stipulated and agreed between plaintiff,

21   United States of America, and defendants, Juan Carlos Montalbo
22   and Wayne A. York II, that the status conference scheduled for

23   December 5, 2017, may be continued to January 16, 2018, at 9:15

24   a.m.
25          The government has provided a large amount of additional

26   discovery on multiple devices, consisting of several years of

27   emails from various persons.      Defense counsel continue to review
28   that material but need additional time to do so.          They have also

                                         -1-
      Case 2:16-cr-00092-DAD Document 115 Filed 12/04/17 Page 2 of 3


1    requested additional discovery from the government, which they

2    believe is crucial to evaluating the case.

3            All counsel agree that the status conference should be

4    continued to January 16, 2018, and ask the Court to order time

5    excluded under the Speedy Trial Act through that date in order

6    to afford necessary time for effective preparation.          The parties

7    agree that the interests of justice to be served by a

8    continuance outweigh the best interests of the defendants and

9    the public in a speedy trial, and ask the Court to order time

10   excluded pursuant to 18 U.S.C. § 3161(h)(7)(A) and (b)(iv),

11   through January 16, 2018.

12
13                                     Respectfully Submitted,

14                                     HEATHER E. WILLIAMS
                                       Federal Defender
15
16   Dated:    December 1, 2017        /s/ T. Zindel__________________
                                       TIMOTHY ZINDEL
17                                     Assistant Federal Defender
                                       Attorney for JUAN CARLOS MONTALBO
18
19   Dated:    December 1, 2017        /s/ T. Zindel for C. Cannon
                                       CHRISTOPHER J. CANNON
20                                     Attorney for WAYNE A. YORK II

21
                                       PHILIP A. TALBERT
22                                     United States Attorney

23
24   Dated:    December 1, 2017        /s/ T. Zindel for M. Morris
                                       MATTHEW G. MORRIS
25                                     Assistant U.S. Attorney

26   /////
27   /////
28
     /////

                                         -2-
      Case 2:16-cr-00092-DAD Document 115 Filed 12/04/17 Page 3 of 3


1                                    O R D E R

2
3         The status conference is continued to January 16, 2018, at

4    9:15 a.m.   The court finds that the ends of justice served by

5    granting a continuance outweigh the best interests of the public

6    and the defendants in a speedy trial for the reasons stated

7    above.   Time is therefore excluded from the date of this order

8    through January 16, 2018, pursuant to 18 U.S.C. § 3161(h)(7)(A)

9    and (B)(iv).

10        IT IS SO ORDERED.

11
     Dated: December 1, 2017           /s/ JOHN A. MENDEZ
12                                     HON. JOHN A. MENDEZ
                                       United States District Judge
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                         -3-
